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Dear Judge Walton,

        My name is Hassan Mohammad Sayegh, I am 74 years old. I am the principal of the Hanaway
Public School when Kassim Tajideen attended primary school in the late 1950s, early 1960s. I have
known Kassim Tajideen since I was a young boy and have had a continued relationship with him until
today.

As a child, Kassim Tajideen was a well-behaved, intelligent and loved his mother very much. He
graduated from primary school and later he stopped attending school. The circumstances in the South
of Lebanon were tough back then, with many families struck by poverty. Kassim Tajideen was not like
the other poor kids however, he stood out for being a hard worker from a young age. He would regularly
show up ten or fifteen minutes late to school, as a result, I had seen him standing outside of class
serving his punishment. I would later find out that the reason for his lack of punctuality was that he was
working. He was changing tires in his father’s garage and would show up with greasy hands. During the
olive harvest season, he would work all night, barely getting a few hours of sleep. When I would ask him
why he is late so often, he would tell me: “do you think I want to be poor forever? I want a better life for
me and my family.” His ambition and desire to be independent was striking from a young age.

I was lucky to monitor Kassim’s life from a close distance after he graduated. Transportation was not
easy in those days and his father and him would regularly transport food for our family for free in the
taxi. They are kind people. When I once got into his taxi with him, he jokingly said: “at school, you taught
me, but in the taxi, I am the teacher”. This is because besides driving the taxi for many hours, he would
repair and maintain it himself. At a certain moment in time, the taxi was his life, it earned him his money
and for months on end he slept in it to avoid paying for hotels. Even after he made money, he remained
the same humble person who doesn’t really care about his appearance. I often joke with him that it is
his turn to teach me, he should teach me how to make money.



Repectfully yours,

Hassan Mohammad Sayegh

[Signature]

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